Case 1:17-cv-20608-JJO Document 203 Entered on FLSD Docket 06/19/2020 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-20608-CIV-O'SULLIVAN

                                         [CONSENT]

  ARWIN NICOLAS ZAPATA CARRERO,

         Plaintiff,

  v.

  SANABI INVESTMENTS LLC d/b/a
  OSCAR'S MOVING & STORAGE,
  SAADY BIJANI a/k/a SANDY BIJANI,
  HANIN PRIETO,

       Defendants.
  ________________________________/

              ORDER SETTING PRETRIAL CONFERENCE AND TRIAL DATE

         This case is set for trial commencing Monday, December 7, 2020, before Chief

  United States Magistrate Judge John J. O’Sullivan at the C. Clyde Atkins United States

  District Courthouse, 301 North Miami Avenue, Fifth Floor, Miami, Florida. All parties are

  directed to report to the calendar call at 10:00 AM on Thursday, December 3, 2020, at

  which time all matters relating to the scheduled trial date may be brought to the

  attention of the Court. A final pretrial conference as provided for by Rule 16, Fed. R.

  Civ. P., and Rule 16.1(C), S.D. Fla. L.R., is scheduled Monday, November 9, 2020, at

  10:00 AM. A bilateral pretrial stipulation, joint proposed jury instructions and proposed

  exhibit lists shall be filed NO LATER THAN THURSDAY, OCTOBER 15, 2020.

         All exhibits must be pre-marked, and a typewritten exhibit list setting forth the

  number and description of each exhibit must be submitted no later than Thursday,

  October 15, 2020. The proposed exhibit lists shall indicate any objections by either
Case 1:17-cv-20608-JJO Document 203 Entered on FLSD Docket 06/19/2020 Page 2 of 2




  party to any exhibit. The parties shall prepare and submit joint proposed jury instructions

  to the Court. The joint proposed jury instructions shall indicate any objections by either

  party to any instruction. The proposed jury instructions shall be submitted to the Court

  no later than Thursday, October 15, 2020. The parties shall submit a copy of the

  joint proposed jury instructions as an attachment, in WordPerfect format, to

  OSullivan@flsd.uscourts.gov.

          DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of June,

  2020.

                                     ________________________________________
                                     JOHN J. O'SULLIVAN
                                     CHIEF UNITED STATES MAGISTRATE JUDGE


  Copies mailed to:
  Sandy Bijani
  11255 NW 77 Terrace
  Miami, FL 33178
